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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:07CR3167
                                     )
           v.                        )
                                     )
CRISTOBAL CAMACHO,                   )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     Defendant’s motion, filing 31, to file “Motion for Release
from Detention and Request for Evidentiary Hearing” under seal is
granted and defendant shall file the motion under seal.

     DATED this 4th day of February, 2008.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
